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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION                                    FILED
                                                                              Scott L. Poff, Clerk
                                                                           United States District Court

                                                                       By casbell at 8:27 am, Apr 17, 2019
 UNITED STATES OF AMERICA

        v.                                                 CASE NO.: 218-cr-50

 JOSE ALBERTO SALGUERO,

                Defendant.

                                             ORDER

       This matter is before the Court on Defense Counsel’s Motion to Withdraw as Attorney by

Joseph Emanuel as to Defendant Jose Salguero. Doc. 486. The Court held an Attorney Inquiry

Hearing on April 15, 2019. After hearing from the parties, and after due consideration and for

good cause shown, the Court hereby GRANTS Joseph Emanuel’s Motion to Withdraw and

hereby appoints attorney Joelyn W. Pirkle to represent Defendant Jose Alberto Salguero. The

Clerk of Court is hereby instructed to update the docket to reflect that Joelyn W. Pirkle is CJA

Appointed Counsel in this case.

       SO ORDERED, this 16th day of April, 2019.




                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
